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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                   CRIMINAL ACTION
                                     )
v.                                   )
                                     )                   No. 09-20022-03-KHV
ANTHONY BEEKS,                       )
                                     )
               Defendant.            )
_____________________________________)

                                                ORDER

       This matter is before the Court on defendant’s letter (Doc. #67) which the Court received on

July 1, 2009, and which the Court construes as a pro se motion to withdraw a plea of guilty. Defendant

is represented by counsel, David A. Kelly, who has not signed the motion or withdrawn from the case.

The Court therefore overrules defendant’s motion.1 See Fed. R. Civ. P. 11 (every pleading, written

motion and other paper shall be signed by at least one attorney of record); United States v. Sandoval-

DeLao, 283 Fed. Appx. 621, 625 (10th Cir. 2008) (no error in refusal to consider pro se motion when

defendant represented by counsel); United States v. Castellon, 218 Fed. Appx. 775, 780 (10th Cir.

2007) (if criminal defendant represented by counsel, court does not accept pro se filings or allegations);

United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no constitutional right to “hybrid form

of representation”).

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #67) which the Court received

on July 1, 2009, and which the Court construes as a pro se motion to withdraw a plea of guilty, be and



       1
               In his letter, defendant primarily complains of counsel’s performance. To the extent that
defendant has not already resolved these issues with counsel, he should raise them directly with
counsel. If any conflict remains, counsel can raise the issue with the Court by an appropriate motion.
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hereby is OVERRULED.

     Dated this 13th day of October, 2009, at Kansas City, Kansas.

                                                  s/ Kathryn H. Vratil
                                                  KATHRYN H. VRATIL
                                                  United States District Judge




                                              2
